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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                           )
In re:                                                                     )   Chapter 11
                                                                           )
COBALT INTERNATIONAL ENERGY, INC. et al., 1                                )   Case No. 17-36709 (MI)
                                                                           )
                                     Debtors.                              )   (Jointly Administered)
                                                                           )

      OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
       TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
        ADEQUACY OF THE DISCLOSURE STATEMENT, (II) APPROVING THE
          SOLICITATION AND NOTICE PROCEDURES WITH RESPECT TO
    CONFIRMATION OF THE DEBTORS' PROPOSED JOINT CHAPTER 11 PLAN, (III)
       APPROVING THE FORMS OF BALLOTS AND NOTICES IN CONNECTION
     THEREWITH, (IV) SCHEDULING CERTAIN DATES WITH RESPECT THERETO,
                      AND (V) GRANTING RELATED RELIEF


                    The Official Committee of Unsecured Creditors (the “Committee”) of Cobalt

International Energy, Inc. et al. (the “Debtors”) hereby objects (the “Objection”) to the Debtors’

Motion for Entry of an Order (I) Approving the Adequacy of the Disclosure Statement, (II)

Approving the Solicitation and Notice Procedures with Respect to Confirmation of the Debtors'

Proposed Joint Chapter 11 Plan, (III) Approving the Forms of Ballots and Notices in Connection

Therewith, (IV) Scheduling Certain Dates with Respect Thereto, and (V) Granting Related Relief

[Docket No. 978] (the “DS Motion”) and the Disclosure Statement for the Amended Joint

Chapter 11 Plan of Cobalt International Energy, Inc. and Its Debtor Affiliates [Docket No. 274]

(the “Amended Disclosure Statement”). In support of the Objection, the Committee respectfully


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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Cobalt International Energy, Inc. (1169); Cobalt International Energy GP, LLC
         (7374); Cobalt International Energy, L.P. (2411); Cobalt GOM LLC (7188); Cobalt GOM # 1 LLC (7262);
         and Cobalt GOM # 2 LLC (7316). The Debtors’ service address is: 920 Memorial City Way, Suite 100,
         Houston, Texas 77024.




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states as follows:
                                     I. PRELIMINARY STATEMENT

                 1.         The Amended Disclosure Statement, and the Amended Plan that it

purports to describe, are lacking even the most basic information necessary for creditors to

determine whether to accept or reject the Amended Plan. The documents contain blanks instead

of projections of creditor recoveries that render it at best a placeholder until the relevant

information can be ascertained (after the scheduled March 6, 2018 auction). The Debtors’ new

request to later “supplement” the disclosure statement after solicitation has commenced

evidences the Debtors’ own tacit acknowledgement that they are incapable of providing the most

basic information relevant to creditors being asked to vote on the plan -- i.e., what will their

distributions be -- until bids for the Debtors’ assets are submitted and an auction is conducted,

and thus that the Amended Disclosure Statement does not contain “adequate information.”

                 2.         After filing their initial plan and disclosure statement on January 23, 2018,

less than 72 hours before the Disclosure Statement Hearing and the night before the objection

deadline, the Debtors filed an Amended Plan and accompanying Amended Disclosure Statement

that fails to remedy the inadequacies of the original disclosure statement. Rather, they confirm

that neither the initial nor the Amended Disclosure Statement contain adequate information,

insofar as the Debtors now propose to unilaterally and without Court approval “supplement” the

Amended Disclosure Statement as soon as practicable after the auction to provide, for the first

time, a recovery analysis for creditors being asked to vote on the Amended Plan.

                 3.         The Debtors’ approach is fundamentally violative of the Bankruptcy Code

and Bankruptcy Rules which require that creditors have 28 days to object to a disclosure

statement absent an order shortening time for cause. In addition, by proposing to provide

creditors with a recovery analysis as soon as practicable after the March 6th auction, but fixing

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the voting deadline at March 26, 2018, the Debtors have effectively shortened the time that

creditors armed with the facts will have to vote.

                 4.         The manner in which the Debtors propose to proceed is offensive to any

notion of due process or fair compliance with the Bankruptcy Code or federal and local rules.

Moreover, their approach will compound the expense, as they propose to send two mailings to

the creditor body, and create chaos and confusion as in the first instance creditors will be sent a

ballot to vote on a plan and, for the first half of the voting period, will be deprived of the

necessary information upon which to cast their vote. Such blatant disregard of the fundamental

procedural requirements will unfairly prejudice and disenfranchise creditors and accordingly

should not be condoned.

                 5.         There is more meaningful information missing from the Amended

Disclosure Statement than is included:

                 •          The Amended Disclosure Statement contains a chart summarizing classes
                            of claims and interests that is completely blank for both the estimated
                            allowed amount of general unsecured claims and estimated recovery with
                            respect to each and every class of claims and interests, including general
                            unsecured claims; the Debtors now propose to “supplement” the already
                            Amended Disclosure Statement with this critical information over two
                            weeks after the approval of the Amended Disclosure Statement.

                 •          All key exhibits are missing, including the Liquidation Analysis.

                 •          The Amended Disclosure Statement has no breakdown of assets and
                            liabilities of the separate Debtors that would allow for any understanding
                            by creditors of the relative solvency or insolvency of each entity or the
                            amounts of distributions projected to be made to creditors as a result.

                 •          The Amended Disclosure Statement provides no description of each of the
                            Debtor entities, their purpose, the corporate structure, intercompany
                            claims and how the Debtors propose to transfer funds by and among the
                            entities to fund obligations under the Amended Plan.

                 •          There is no disclosure as to the relationship between the Debtor entities
                            and why there should not be substantive consolidation of certain Debtors
                            for plan purposes.


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                 •          There is no discussion in the Amended Disclosure Statement concerning
                            the potentially valuable unencumbered estate claims that are to be
                            released, the value of those claims and the consideration provided for the
                            releases.

                 6.         The first question any holder of a general unsecured claim would be

expected to ask before voting on the Plan is “how much are the Debtors proposing to pay on my

claim?” Yet, the Amended Disclosure Statement, as filed, admittedly fails to provide any

estimate of potential financial recoveries to the holders of such claims. Without an answer to

that question, and many others, informed voting by holders of general unsecured claims is not

possible.

                 7.         Also deficient is the Debtors’ description of the pending claims against

insiders in the Derivative Actions (discussed below) and the identity of any consideration being

provided to the estates in exchange for such release. Instead, the Debtors now advise they intend

to present evidence at the confirmation hearing – after the deadline for submitting ballots in

which they are to vote to accept or reject the plan and to opt out of the plan release – thus

denying creditors essential information until after it is too late.

                 8.         Furthermore, the Amended Plan is defective because, among other things,

it is not feasible, fails the “best interests of creditors” test, and unfairly discriminates against

certain classes of unsecured creditors.

                 9.         Based on the foregoing and as set forth more fully below, the Court should

deny approval of the Amended Disclosure Statement and direct the Debtors to notice a new

disclosure statement hearing only after the actual document they are seeking to have approved is

on file.




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                                             II. BACKGROUND

A.      General

                  10.       On December 14, 2017 (the “Petition Date”), each of the Debtors filed a

voluntary petition with this Court under chapter 11 of the Bankruptcy Code. The Debtors are

operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed

in these cases.

                  11.       On December 21, 2017, the Office of the United States Trustee appointed

the Committee pursuant to section 1102 of the Bankruptcy Code. The Committee consists of the

following three members: (a) Wells Fargo Bank, National Association; (b) Baker Hughes, a GE

Company; and (c) Schlumberger Technology Corporation.

                  12.       The Plan proposes to grant direct and third party releases for no apparent

consideration to past and present officers and directors, including those named as defendants in a

pending securities litigation, the background for which is briefly summarized below.

                  13.       Debtor Cobalt International Energy, Inc. (“Cobalt” or “CIE”) was formed

as a privately-held exploration and production company in 2005. It conducted an IPO of its

shares in 2009, as well as a public stock offering in February 2012 and a public bond offering in

December of 2012.

                  14.       In 2007, Cobalt entered into an agreement with Sonangol E.P.

(“Sonangol”) to acquire a 40% interest in certain assets in offshore Angola. In 2009, the

Angolan Parliament issued two decrees assigning an interest in certain “Blocks” to Nazaki Oil &

Gaz (“Nazaki”), Sonangol P&P, and Alper, Oil, Limitada (“Alper”). In March of 2011, Cobalt

learned that the Securities and Exchange Commission (the “SEC”) was conducting an informal

inquiry into allegations that there was a connection between Nazaki and senior government

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officials in Angola. Thereafter, both the SEC and the Department of Justice commenced formal

investigations into whether Cobalt had violated the Foreign Corrupt Practices Act of 1977

(“FCPA”).

                 15.        Cobalt drilled two exploration wells in the Angolan drilling region. It had

no rights to gas discoveries, only oil, and the Blocks were ultimately found to contain a

substantially higher percentage of gas, and far less oil, than originally estimated.

B.      Securities Class Action and Derivative Actions

                 16.        Certain of the Debtors’ current and former Officers 2 and Directors 3 as well

as controlling equity 4 are defendants in several pre-petition actions as described below.

        1.       The Securities Class Action

                 17.        In November of 2014, the first in a series of lawsuits, a securities class

action (the “Securities Class Action”), was filed against Cobalt and its officers, directors,

controlling equity, and underwriters, asserting claims in connection with Cobalt's assets and

activities in Angola on behalf of purchasers of Cobalt securities. Other class actions soon

followed and the cases were consolidated.

                 18.        The Securities Class Action is currently pending as In re Cobalt

International Energy, Inc. Securities Litigation, Civil Action No. H-14-3428 (S.D. Tex.) before

District Judge Nancy Atlas. On May 1, 2015 the plaintiffs in the Securities Class Action filed

their amended complaint (the “Class Action Complaint”). The Class Action Complaint alleges

that both during and after the class period, Cobalt denied (i) allegations that its partners, Nazaki



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     The Officers are, collectively, Joseph H. Bryant (“Bryant”), James W. Farnsworth, and John P. Wilkirson.
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     The Directors are, collectively, Peter R. Coneway, Henry Cornell, Michael G. France, Jack E. Golden, Kathryn
     Bailey Hutchinson (“Hutchinson”), N. John Lancaster, Scott L. Lebovitz, Jon A. Marshall, Kenneth W. Moore,
     J. Hardy Murchison, Kenneth A. Pontarelli, Myles W. Scoggins, D. Jeff Van Steenbergen, William P. Utt
     (“Utt”), Van P. Whitfield, and Martin H. Young, Jr..



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and Alper, were secretly owned by Manuel Vicente, the head of Sonangol, along with two other

senior Angolan government officials, General Kopelipa and General Dino, and (ii) later reports

that these three top Angolan governmental officials were the true owners of Nazaki and Alper.

The Complaint also alleges that Cobalt had used sham partners in Angola and that Cobalt might

have violated the FCPA. The Class Action Complaint also alleges that throughout the Class

Period, Cobalt continued to make repeated representations assuring investors that it had

conducted extensive due diligence and investigation into its Angolan partners and that Cobalt's

activities in Angola complied with all laws, including the FCPA.

                 19.        The Class Action Complaint also alleges that Cobalt misrepresented the

oil content of its Angolan wells, greatly overstating the potential of those wells, and that

unknown to Cobalt’s investors, Sonangol insisted that Cobalt withhold facts about the quality of

its Angolan oil wells. According to the class action plaintiffs, by concealing material facts,

Cobalt was able to raise over $6 billion through numerous offerings of Cobalt common stock and

debt, Cobalt’s insiders were able to collect millions of dollars in insider stock sales, and its

private equity backers made billions of dollars more. The Complaint alleges that these

revelations collectively caused Cobalt’s stock to plummet, wiping out over $3.2 billion in market

capitalization. Significantly, the allegations in the Class Action Complaint survived a motion to

dismiss for failure to state a claim and, over heavy opposition, a class has been certified.

                 20.        In June 2015, the Control Parties [D.I. 82] and CIE, the Officers, and the

Directors [D.I. 83] filed Motions to Dismiss the Securities Class Action. In their motion to




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     The controlling equity (the “Control Parties”) are, collectively, Goldman, Sachs & Co., Riverstone Holdings
     LLC, The Carlyle Group L.P., First Reserve Corporation, and KERN Partners Ltd., and subsidiaries and
     affiliates thereof.



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dismiss, CIE, the Officers, and the Directors all disputed the allegations underlying the Class

Action Complaint. On January 19, 2016, Judge Atlas denied both Motions to Dismiss [D.I. 108].

                 21.        On June 15, 2017, Judge Atlas certified the class of plaintiffs in the

Securities Class Action, over the objection of CIE, the Officers, the Directors, and the Control

Parties [D.I. 244]. 5

        2.       The Derivative Actions

                 22.        The same facts and circumstances form the basis of allegations made

against past and present officers and directors of Cobalt in three derivative actions pending in

District Court of Harris County, Texas that were stayed by the bankruptcy filing.

                 23.        On May 6, 2016, Ira Gaines, as trustee for the Paradise Wire and Cable

Defined Benefit Pension Plan dated 11/11/84, commenced a shareholder derivative action (the

“Gaines Action”) against certain past and present officers and directors and controlling

shareholders in the District Court of Harris County, Texas. The Gaines Action, styled as Gaines

v. Bryant et al., Cause No. 2016-29850, alleges, inter alia, breaches of fiduciary duty and unjust

enrichment against the Officers, Directors, and Control Parties. Baker Botts represents the

Officers (except Bryant), Directors, and CIE as a nominal defendant in the Gaines Action.

                 24.        On November 29, 2016, Karen McDonaugh commenced a shareholder

derivative action (the “McDonaugh Action”) against certain past and present officers and

directors in the District Court of Harris County, Texas. The McDonaugh Action, styled as


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     On the Petition Date, the Debtors filed an adversary proceeding against the lead plaintiffs in the Securities
     Class Action, captioned Cobalt International Energy, Inc. v. GAMCO Global Gold, Natural Resources &
     Income Trust et al, Case No. 17-03457 (the “Adversary Proceeding”). In the Adversary Proceeding, the
     Debtors sought to stay the Securities Class Action in its entirety while these bankruptcy cases were pending.
     The Committee supported this relief, and filed a joinder [Adv. Dkt. No. 55], noting that the Committee sought
     to protect the Debtors’ management from distractions during the pendency of these bankruptcy cases. Upon
     agreement of all parties, the automatic stay was extended to all defendants in the Securities Class Action
     through 12:01 am on April 21, 2018. No such relief was sought with respect to the Derivative Actions, which
     constitute property of the estates under section 541 of the Bankruptcy Code and accordingly are stayed.



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McDonaugh v. Bryant et al., Cause No. 2016-82186, alleges, inter alia, breaches of fiduciary

duty, unjust enrichment, abuse of control, and misappropriation of information against the

Officers and Directors. Baker Botts represents the Officers (except Bryant), Directors, and

Cobalt as a nominal defendant in the McDonaugh Action. 6

                 25.        On April 5, 2017, Dr. Michael Hafkey commenced a shareholder

derivative action (the “Hafkey Action,” and, together with the Gaines Action and the

McDonaugh Action, the “Derivative Actions”) against certain past and present officers and

directors in the District Court of Harris County, Texas. The Hafkey Action, styled as Hafkey v.

Bryant et al., Cause No. 2017-23329, alleges, inter alia, breaches of fiduciary duty, corporate

waste, and unjust enrichment against the Officers and Directors. Baker Botts represents the

Officers (except Bryant), Directors, and CIE as a nominal defendant in the Hafkey Action.

C.      The Debtors’ Investigation of the Derivative Actions

                 26.        Prior to commencing the Gaines Action, Ira Gaines made a demand upon

CIE, which demand was refused. Notably, however, Gaines’ demand was first considered by a

"Special Litigation Committee" consisting of two members -- Hutchinson and Utt, the latter of

whom was already a defendant in the Securities Class Action and was therefore utterly conflicted

and could not exercise independent judgment, and subsequently referred to the full board (which

itself was conflicted). See, e.g., Beam ex. rel. Martha Stewart Living Omnimedia, Inc. v.

Stewart, 845 A.2d 1040, 1049 (Del. 2004) (“A director will be considered unable to act

objectively with respect to a pre-suit demand if he or she is interested in the outcome of the

litigation or is otherwise not independent.”). Similarly, Karen McDonaugh’s demand on CIE

prior to commencing the McDonaugh Action was rejected by the very same “Special Litigation


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     Under the Order Authorizing the Retention and Employment of Baker Botts LLP as Special Litigation Counsel



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Committee,” which, as previously noted, was not independent because one of its members was at

that point a defendant in two actions. And, finally, that same “Special Litigation Committee”

refused Dr. Hafkey’s demand letter and, by that point, Utt was a defendant in three actions and

Hutchinson a defendant in one.

D.      The Committee’s Investigation of the Derivative Actions

                 27.        Since its formation, one of the most pressing tasks of the Committee has

been the investigation of the Derivative Actions. In connection therewith, the Committee has

issued both formal and informal discovery requests and the Debtors have produced documents.

Based on the Committee’s investigation thus far, the Committee believes that the Derivative

Actions assert colorable claims against certain of the parties whom the Debtors propose to

provide direct and third party releases under the Plan.

                 28.        By letter dated February 7, 2018, the Committee issued a formal demand

to the Debtors (the “Demand Letter”), requesting, in light of their conflict of interest, that the

Debtors consent to the Committee's prosecution of the Derivative Actions. In the Demand

Letter, the Committee requested that the Debtors respond to its demand by February 12, 2018.

On February 19, 2018, the Debtors provided a written response to the Demand Letter indicating

that the unidentified “independent and disinterested directors” voted on February 16, 2018 to

reject the Committee’s demand for derivative standing.

                 29.        Based on the Amended Disclosure Statement, it appears that the Debtors

remain intent on granting the blanket releases under the Plan, and yet the Amended Disclosure

Statement, despite offering additional description of the history of the litigations, fails to explain

what, if any, consideration is being received in exchange for the releases nor the basis for



     [Dkt. No. 366], Baker Botts is no longer authorized to represent the Debtors in the Derivative Actions and, as a



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concluding that the Derivative Claims are meritless and worthy of abandonment in the manner

proposed.


E.      The Proposed Plan and Disclosure Statement

                 30.        On January 23, 2018, the Debtors filed their Joint Chapter 11 Plan of

Cobalt International Energy, Inc. and its Debtor Affiliates [Docket No. 273] (the “Original

Plan”) and Disclosure Statement for the Joint Chapter 11 Plan of Cobalt International Energy,

Inc. and Its Debtor Affiliates [Docket No. 274] (the “Original Disclosure Statement”).

                 31.        On February 19, 2018, the Debtors filed their Amended Joint Chapter 11

Plan of Cobalt International Energy, Inc. and its Debtor Affiliates [Docket No. 429] (the

“Amended Plan”) and accompanying Amended Disclosure Statement. The Amended Disclosure

Statement only highlights the inadequacies therein and further diminishes the ability of creditors

to make an informed vote on the Plan.

                 32.        The hearing to consider approval of the Amended Disclosure Statement is

scheduled on February 22, 2018 at 9:00 a.m. (the “Disclosure Statement Hearing”) pursuant to

the Order (I) Approving Bidding Procedures for the Sale of the Debtors' Assets, (II) Scheduling

an Auction, (III) Approving the Form and Manner of Notice Thereof, (IV) Scheduling Hearings

and Objection Deadlines With Respect to the Debtors' Disclosure Statement and Plan

Confirmation, and (V) Granting Related Relief [Dkt. No. 299] (the “Bid Procedures Order”). 7

The deadline to submit bids to purchase certain or all of the Debtors’ assets is at 5:00 p.m. on the

date of the Disclosure Statement Hearing. See Bid Procedures Order at ¶4.



     result, the Debtors have no counsel in the Derivative Actions.
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     The Bid Procedures Order provides that the approval of the Debtors’ “Confirmation Schedule” thereunder shall
     not prejudice any parties’ rights to object to, among other things, the adequacy of the Disclosure Statement.
     See Bid Procedures Order at ¶13.



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                 33.        In the Amended Disclosure Statement, the Debtors propose to file a

supplement to the Amended Disclosure Statement “on or before March [9], 2018, or as soon

after the conclusion of the auction as reasonably practicable, that provides an estimate of the

projected recoveries to all holders of claims and interests under the Plan,” as well as their

liqidation analysis and “[a]ny other information that the Debtors deem material to creditor

recoveries or confirmation of the Plan.” Amended Disclosure Statement, at 5 and Exhibit B.

Apparently the Debtors do not contemplate any vetting by parties in interest or a hearing before

the Court with respect to the accuracy and adequacy of the information the Debtors deem worthy

of including in the contemplated supplement.

        1.       Releases

                 34.        The Amended Plan contains both direct and third-party blanket releases of

all claims and causes of action of whatever kind against the Officers, Directors, and Control

Parties for no apparent consideration. See Amended Plan, at Article VIII.

                 35.        In the Amended Disclosure Statement’s discussion of the release

provisions, the Debtors provide no factual detail to support the direct and third party releases, but

merely set forth boilerplate recitations that confirmation of the Plan “shall constitute the

Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the releases . . . and further,

shall constitute its finding that each release . . . is: (1) in exchange for the good and valuable

consideration provided by the Released Parties, a good faith settlement and compromise of such

Claims; (2) is in the best interests of the Debtors and all holders of Interests and Claims, [and]

(3) fair, equitable, and reasonable . . .” Amended Disclosure Statement, at 15-16.

                 36.        The Amended Disclosure Statement provides no evidentiary support that

the proposed direct and third party releases constitute an exchange of bargained-for consideration

between the Debtors and the Released Parties and virtually no explanation of what is being

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compromised and settled. Thus, it appears that the estates’ claims in the pending Derivative

Actions are being surrendered for no consideration. The Debtors’ only attempt to justify the

releases appears in the “Q and A” of the Amended Disclosure Statement where the question is

posed “Will there be releases and exculpation granted to parties in interest as part of the Plan?”

In response, the Debtors offer that the Plan does contain releases and assert in conclusory fashion

that they are “necessary and appropriate” and that “[a]ll of the Released Parties … have made

substantial and valuable contributions to the Debtors’ restructuring through efforts to negotiate

and implement the Plan, which will maximize the value of the Debtors for the benefit of all

parties in interest.” Amended Disclosure Statement, at 9.

                 37.        The Amended Disclosure Statement provides no factual support for any of

these conclusory statements. There is simply no explanation, for example, of what contribution

to the restructuring efforts could have been provided as consideration by the many former

Directors and Officers named in the Derivative Actions, or for that matter how, if at all, the

Amended Plan, which contemplates the orderly liquidation of the Debtors’ assets, would be

impacted if the gratuitous releases were removed and the claims transferred to a creditor trust.

                 38.        Curiously, the Debtors do not specifically identify the “independent and

disinterested” directors who conducted the investigation of the claims asserted in the Derivative

Actions. The Debtors, as named defendants in the Securities Class Action and the Derivative

Actions, having taken a position in the pending litigation that the facts and circumstances set

forth in the various complaints are not actionable, are hopelessly conflicted and cannot conduct

an independent investigation even if the matter is delegated to a pristine “independent director,”

as that director is bound to a duty of loyalty to the Debtors which are on record as contending

that no claims lie from the complained of conduct. The Debtors’ obvious conflict casts doubt on




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whether the outcome of any investigation they have conducted (whether pre- or post-petition)

justifies the release of claims asserted in the Derivative Actions.

        2.       Treatment of Claims and Interests

                 39.        The Amended Plan is a liquidating plan that provides for the sale of the

Debtors’ assets, the distribution of the proceeds thereof and the wind down of the estates.

General unsecured creditors are classified in two classes: Class 5 (Subsidiary General

Unsecured Creditors) and Class 6 (Cobalt General Unsecured Creditors). Intercompany Claims

will be reinstated or cancelled, at the Debtors’ sole option, and will receive no distribution.

Intercompany Interests receive the same treatment.

                                     III. DISCLOSURE OBJECTIONS

A.      The Amended Disclosure Statement Should Not Be Approved Because It Does Not
        Contain Adequate Information as Required by Section 1125 of the Bankruptcy
        Code

                 40.        The Amended Disclosure Statement fails to satisfy section 1125 of the

Bankruptcy Code in numerous material respects. Section 1125(b) of the Bankruptcy Code

requires that a proponent of a plan and disclosure statement demonstrate that the disclosure

statement includes “adequate information” for creditors and other parties in interest to make an

informed judgment about the plan. The obligation to provide adequate information is pivotal.

See Westland Oil Dev. v. MCorp Mgmt. Solutions, Inc., 157 B.R. 100, 102 (Bankr. S.D. Tex.

1993) (disclosure is the “pivotal” concept in chapter 11 cases). In determining whether a plan

proponent has provided “adequate information” to creditors and parties in interest, the standard is

not whether the failure to disclose information would harm creditors but whether “hypothetical

reasonable investors receive such information as will enable them to evaluate for themselves

what impact the information might have on their claims and on the outcome of the case, and to

decide for themselves what course of action to take.” In re Applegate Prop., Ltd., 133 B.R. 827,


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831 (Bankr. W.D. Tex. 1991). Significantly, even if more thorough disclosure would not have

affected an objecting creditor’s vote, that creditor still has standing to object because inadequate

disclosure may have induced other creditors to approve the plan. Everett v. Perez (In re Perez),

30 F.3d 1209, 1217 (9th Cir. 1994). For a creditor to fairly evaluate the results of a proposed

plan, the court must ensure that a disclosure statement sets forth “all those factors presently

known to the plan proponent to bear upon the success or failure of the proposals contained in the

plan.” See In re Jeppson, 66 B.R. 269, 292 (Bankr. D. Utah 1986; In re Ferretti, 128 B.R. 16, 19

(Bankr. D.N.H. 1991) (holding that a proper disclosure statement must “clearly and succinctly

inform the average unsecured creditor what it is going to get, when it is going to get it, and what

contingencies there are to getting their [sic] distribution.”).

                 41.        Whether a disclosure statement contains “adequate information” should be

assessed from the perspective of the claims or interest holders with the ability to vote. See In re

Phoenix Petroleum Co., 278 B.R. 385, 393 (Bankr. E.D. Pa. 2001) (citing In re Monroe Well

Serv., Inc., 80 B.R. 324, 330 (Bankr. E.D. Pa. 1987)); see also 11 Collier on Bankruptcy,

1125.03[1] (courts should “consider the needs of the claims or interest of the class as a whole

and not the needs of the most sophisticated or least sophisticated members of a particular class”).

                 42.        Here, as set forth below, the Amended Disclosure Statement omits basic

information about matters of primary concern to creditors. Absent such disclosures, creditors

simply have not been provided with “adequate information” to make an informed decision as to

whether to accept or reject the Amended Plan. The Debtors’ intention to file a supplement after

the auction is conducted identifying, for the first time, the amount of creditor distributions

constitutes an admission that the Amended Disclosure Statement in its current form does not

contain adequate information.




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B.      The Amended Disclosure Statement Contains Inadequate Information Regarding
        the Treatment of Claims and Impacts on Creditor Recoveries

                 43.        The Amended Plan does not propose to substantively consolidate the

Debtors’ assets and liabilities. As set forth above, general unsecured claims are relegated to two

separate classes.

                 44.        The Amended Disclosure Statement provides no information with respect

to what general unsecured creditors will receive, and the simple reason it does not is because it

cannot. Recoveries under this Plan are based on proceeds of a sale. Bids for such sale are not

due until several hours after the Disclosure Statement Hearing. An auction, if necessary, is not

scheduled until March 6, 2018, two weeks after the Disclosure Statement Hearing. Thus, based

on the Debtors’ self-imposed plan confirmation schedule, it is impossible for them even to

estimate a range of recoveries for creditors.

                 45.        The Debtors admit this finally in the Amended Disclosure Statement,

which provides that a “supplement” (the “Disclosure Statement Supplement”) will be prepared

solely by the Debtors, without input from any of the major constituencies or Court approval, and

filed and served on March 9, 2018 “or as soon after the conclusion of the auction as reasonably

practicable,” as determined by the Debtors in their sole discretion. The Disclosure Statement

Supplement will contain:

                 •          a description of bids received and/or successful bids following the auction;

                 •          a chart estimating creditor recoveries by class;

                 •          the Liquidation Analysis; and

                 •          any information “that the Debtors deem material” to creditor recoveries or
                            confirmation of the Plan.

Amended Disclosure Statement, at Exhibit B. In other words, the Amended Disclosure

Statement Supplement will provide the most significant information that creditors seek -- what


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they can expect to receive under the Plan – and none of what the Debtors say will be subject to

prior notice or opportunity to object or Court approval.

                 46.        The transmission of a Disclosure Statement missing crtical information

followed weeks later by a Disclosure Statement Supplement is a substantively and procedurally

improper method to provide adequate information to enable creditors to vote on the Plan for the

following reasons, and should be rejected by the Court.

                 47.        First, the Debtors’ unilateral drafting and transmission of a Disclosure

Statement Supplement 17 days after the Disclosure Statement Hearing deprives creditors and the

Court from determining whether such supplement contains adequate information under section

1125 of the Bankruptcy Code and renders the disclosure statement process meaningless.

Bankruptcy Rule 2002 provides that parties must be given 28 days’ notice of the time to object to

a disclosure statement. The relatively lengthier period underscores the nature of the disclosure

statement process, which is intended to provide sufficient time for parties in interest and the

Court to vet a disclosure statement in advance of its transmission to creditors to determine

whether it contains adequate information to justify mailing it out to creditors to vote on a plan.

The Debtors simply ignore this rule and time-honored process and try to invent a process of their

own making that is highly prejudicial to voting creditors. They fail to provide parties the

opportunity to weigh in on or object to the information to be contained in the Disclosure

Statement Supplement either prior to or after its filing or service, and altogether bypass Court

approval of such supplement. The Debtors essentially are asking the Court to pre-approve a

document under section 1125 of the Bankruptcy Code. Such a blatant disregard for procedural

and substantive due process is unfair, would set a terrible precedent and should not be

countenanced.




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                 48.        Second, the filing and service of a Disclosure Statement Supplement

seriously curtails the period during which creditors are permitted to vote on the Amended Plan

with the benefit of the relevant information. The proposed voting deadline is March 26, 2018.

The proposed solicitation date is February 26, 2018. Thus, if an adequate disclosure statement

were solicited on February 26th, creditors would have a 30-day voting period. Here, by the

Debtors’ own admission, the Amended Disclosure Statement will not contain adequate

information under section 1125 of the Bankruptcy Code until the filing of the Disclosure

Statement Supplement on March 9, 2018, thus providing creditors only a 17-day voting period or

less (excluding the time for mailing such supplement which will further reduce that 17-day

period).

                 49.        Third, the Debtors’ approach adds unnecessary confusion to the voting

process. Creditors will receive an approved a ballot and Amended Disclosure Statement that is

missing a critical document– the Disclosure Statement Supplement – which they will then

receive weeks later. What if a creditor submits a ballot between February 26, 2018 and March 9,

2018? Will the Debtors tabulate such ballots, notwithstanding the fact that they could not

possibly have been submitted based on adequate information? Will creditors who do so be

entitled to change their votes and will they be informed that they have a right to do so? The

approach raises a litany of problems stemming from the Debtors’ attempt to skirt the solicitation

rules.

                 50.        Furthermore, as set forth above, the Plan proposes that intercompany

claims and interests will be canceled or reinstated at the Debtors’ discretion. The Amended

Disclosure Statement does not contain sufficient information as to the relationship between the

Debtor entities, the description of intercompany claims and interests, or the impact of

reinstatement or cancellation of intercompany claims on general unsecured creditor recoveries.

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The Debtors must disclose the foregoing information so that general unsecured creditors are

adequately informed with respect to what they are going to receive under the Plan.

                 51.        Lastly, the Amended Disclosure Statement and Amended Plan contain

inconsistencies with respect to the treatment of the first and second lien note claims. The

description of the proposed treatment of the first and second lien note claims is stated one way in

the Plan and another way in the Disclosure Statement creating, at the very least, a confusing

picture of the Debtors’ planned treatment of these claims.

C.      The Description of the Basis, if any, for the Proposed Releases Is Inadequate

                 52.        The Committee opposes the direct and third party releases proposed in the

Amended Plan and reserves its rights to object to them at confirmation. Putting aside whether

such releases render the Amended Plan unconfirmable, which they do, at this stage creditors

cannot cast an informed vote on the Amended Plan (and determine whether to opt out of the

releases if an opt-out provision is included (as it should be) in the Plan) based on the current

disclosures regarding such direct and third party releases. Creditors need to understand the

nature and amount of the claims arising from the Derivative Actions to be released, the identities

of the purportedly independent and disinterested board members who conducted the

investigation given the Debtors’ conflicts described above, the scope of insurance coverage for

such claims, who would prosecute such claims if not released by the Debtors, how such

prosecution would be funded, which creditors would be beneficiaries of the recovery on account

of such claims, and how a hypothetical recovery on account of those claims would impact the

distributions to creditors and the liquidation analysis. Moreover, the Amended Disclosure

Statement fails to identify what consideration is being provided in exchange for the releases,

except some ephemeral notion that current officers and directors are contributing to the plan

process. There is no discussion of any consideration being provided by former officers and

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directors, including those named as defendants in the Securities Class Action and the Derivative

Actions. Absent such information, the Amended Disclosure Statement should not be approved.

                 53.        None of the Fifth Circuit’s requirements for approval of direct and third

party releases are satisfied by the information provided in the Disclosure Statement. The Fifth

Circuit forbids non-consensual, non-debtor releases. See, e.g., In re Patriot Place, Ltd., 486 B.R.

773, 822-23 (citing In re Vitro SAB de CV, 701 F.3d 1031 (5th Cir. 2012); In re Pac. Lumber

Co., 584 F.3d 229, 252 (5th Cir. 2009); Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th

Cir. 1995). Moreover, the Fifth Circuit has expressly declined to follow other circuits that have

taken a more lenient view toward non-debtor releases under certain “extraordinary

circumstances.” See Patriot Place, 486 B.R. at 822-23.

                 54.        In addition, while section 1123(b)(3)(A) permits a plan to provide for “the

settlement or adjustment of any claim or interest belonging to the debtor or to the estate,”

including a release of estate claims against non-debtors, any such release must satisfy the

requirement of a valid settlement of claims under the Bankruptcy Code. See In re Bigler LP, 442

B. R. 537, 543 (Bankr. S.D. Tex. 2010). Specifically, “[i]t would require, inter alia, consent and

consideration by each participant in the agreement to be valid.” Id. at 543-44. In Bigler, the

court approved a release of estate claims against non-debtors where the release was part of the

consideration given to a non-debtor (Amegy Bank), which was providing all of the funding to

effectuate the terms of the plan – including payments to unsecured creditors. See id. at 544.

Thus, the court concluded, it was a settlement of claims “for consideration, pursuant to arms-

length negotiations” in satisfaction of section 1123(b)(3)(A). Id.

                 55.        There is no disclosure whatsoever regarding the consideration provided in

exchange for the releases or any arms-length negotiations with respect thereto. As set forth

above, the Amended Disclosure Statement contains only the boilerplate language that the direct

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and third party releases are provided “in exchange for the good and valuable consideration

provided by the Released Parties” and that “all of the Released Parties and the Exculpated Parties

have made substantial and valuable contributions to the Debtors’ restructuring through efforts to

negotiate and implement the Plan . . . .” 8 At this point in the process, the Debtors must know

what consideration these parties are providing and what contributions they have made towards

the formulation of the Original Plan and Amended Plan that are on file. While the propriety of

the releases is a confirmation issue, to the extent that the Debtors know the factual information

purportedly justifying such releases, they must include it in the Amended Disclosure Statement.

The Debtors must also disclose the impact on creditor recoveries of the release of estate claims

against non-debtors and, in the alternative, the pursuit of such claims if the releases are not

approved at confirmation.

                  56.       In addition, the Fifth Circuit has a “specificity test” with respect to

approval of releases. See Hernandez v. Larry Miller Roofing, Inc., 2016 U.S. App. LEXIS 204,

at *15 (5th Cir. Jan. 5, 2016 ) (holding that release provisions in plan not specific enough to

release a third party claim against a non-debtor). For example, a party’s status as an officer or

director combined with boilerplate release language is not sufficiently specific. See id. (citing In

re Applewood, 203 F.3d 914 (5th Cir. 2000)). Based on the foregoing, creditors are entitled to

adequate disclosure with respect to the identities of the released parties and the claims proposed

to be released.

                  57.       The proposed release of claims against non-debtors proposed by the

Original Plan was non-consensual. In the Amended Plan, the Debtors now propose to provide an

insufficient opt-out election with respect to the third party releases in an attempt to render such


8
     It is difficult to imagine what contributions to the Debtors’ restructuring could have been made by the Debtors’



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releases “consensual” in satisfaction of Fifth Circuit requirements. This Court recently approved

the following opt-out provisions that the Committee believes are appropriate here:

                 •          Creditors who vote to reject the Plan are automatically not bound by the
                            third party releases and are not required to check the opt-out box on the
                            ballot;

                 •          Creditors who vote to accept the plan and check the opt-out box are not
                            bound by the third party releases;

                 •          Creditors who submit a ballot that abstains from voting to accept or reject
                            the plan but check the opt-out box are not bound by the third party
                            releases; and

                 •          Creditors who both receive proper notice and fail to submit a ballot
                            altogether are bound by the third party releases.

See In re EMAS Chiyoda Subsea Ltd., Case No. 17-31146 (MI) (Bankr. S.D. Tex. May 25, 2017)

[Docket No. 455-3; Exhibit 3-A (Class 1-G Ballot – General Unsecured Claim Against EMAS-

AMC Pte. Ltd)]. Absent the foregoing terms, the third party releases cannot be consensual.

                            IV. SOLICITATION PROCEDURES OBJECTIONS

                 58.        The Committee objects to certain of the solicitation procedures proposed

in the DS Motion, which improperly disenfranchise creditors. 9

A.      The Proposed Voting Record Date Occurs Before the Proposed Bar Date

                 59.        The Debtors have filed the Debtors’ Motion for Entry of an Order (I)

Setting Bar Dates for Filing Proofs of Claim, Including Requests for Payment Under Section

503(B)(9), (II) Establishing Amended Schedules Bar Date and Rejection Damages Bar Date,


     former officers and directors who are included in the Released Parties.
9
     The Debtors filed the Notice of Filing of Revised Proposed Order (I) Approving the Adequacy of the
     Disclosure Statement, (II) Approving the Solicitation and Notice Procedures with Respect to Confirmation of
     the Debtors Proposed Joint Chapter 11 Plan, (III) Approving the Forms of Ballots and Notices in Connection
     Therewith, (IV) Scheduling Certain Dates with Respect Thereto, and (V) Granting Related Relief [Docket No.
     434] late last night. Based on a cursory review, the Committee believes that some, but not all, of its objections
     to the proposed solicitation procedures have been addressed. To the extent they have not been, the Committee
     will continue to discuss with the Debtors and, absent a resolution, request that the Court direct the
     modifications herein to be made.



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(III) Approving the Form of and Manner for Filing Proofs of Claim, Including Section 503(B)(9)

Request, and (IV) Approving Notice of Bar Dates [Docket No. 325], which is also scheduled to

be heard at the Disclosure Statement Hearing.

                 60.        The Debtors’ proposed bar date/solicitation/confirmation schedule is as

follows:

                            2/20/18        Voting Record Date
                            2/26/18        Solicitation Mailing
                            2/27/18        Bar Date Notice Mailing
                            3/19/18        Bar Date
                            3/23/18        Plan Supplement
                            3/26/18        Voting Deadline/Confirmation Objection Deadline
                            3/30/18        Confirmation Hearing

Based on the foregoing, and unlike in most cases, the Voting Record Date will occur before the

Bar Date. Since the Voting Record Date determines who will receive ballots and who will be

entitled to vote, certain creditors could impermissibly be deprived of their fundamental right to

vote on the Plan. The Committee proposes that the Debtors modify the solicitation procedures:

(i) to permit parties to vote who file proofs of claim between the Voting Record Date and the Bar

Date for claims that, as of the Voting Record Date, either are not scheduled claims or are

scheduled as contingent, unliquidated or disputed; (ii) to provide that the Debtors will mail

solicitation packages (including ballots) to such parties one business day after the Bar Date; and

(iii) to extend the Voting Deadline for such parties, if necessary.

B.      Creditors Whose Claims are the Subject of an Objection Should Be Provided With
        Sufficient Time to Obtain a Resolution Event

                 61.        The DS Motion proposes the following procedures regarding voting rights

with respect to claimants whose claims are the subject of objections:

                 •          if the Debtors file a “reduce and allow” claim objection at any time, the
                            claimant is entitled to vote the claim in the reduced amount absent further
                            order of the court;



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                 •          if the Debtors object to a claim on or before March 19, 2018 (other than a
                            “reduce and allow” objection), the claimant will receive a Disputed Notice
                            and is not entitled to vote absent a Resolution Event occurring by March
                            22, 2018; and

                 •          if Debtors object to a claim after March 19, 2018 (other than a “reduce
                            and allow” objection), claim shall be deemed temporarily allowed for
                            voting purposes without further action by claimant.

DS Motion, Exhibit A (Disclosure Statement Order), Schedule 2 (Form of Solicitation and

Voting Procedures), at ¶3.

                 62.        A “Resolution Event” means that one of the following occurs by March

22, 2018:

                 •          Court order allowing claim under section 502(b);

                 •          Court order temporarily allowing claim for voting purposes under
                            Bankruptcy Rule 3018;

                 •          executed stipulation resolving claim objection and allowing claim in
                            agreed amount; or

                 •          withdrawal of objection.

See id.
                 63.        There is insufficient time to have a Resolution Event (most of which

involve obtaining a Court order) by March 22, 2018 if a claim objection is filed on March 19,

2018. The Resolution Event should be the Confirmation Hearing on March 30, 2018, to give

claimants adequate time to seek to have their claims temporarily allowed for voting purposes.

                 64.        In addition, the Debtors should be required to file all objections to claims

(including a “reduce and allow” objection) that affect claimants’ voting rights on or before

March 19, 2018. If the Debtors object to a claim after March 19, 2018 (including a “reduce and

allow” objection), the claim should be deemed temporarily allowed for voting purposes without

further action by claimant.




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C.      The Ballots Should Contain Release Opt-out Election

                 65.        Non-consensual, non-debtor releases are per se impermissible under Fifth

Circuit law. Accordingly, the Debtors must provide creditors with the right to elect to opt out of

the releases on the terms set forth above in paragraph 53. The ballots should be modified

accordingly.

D.      The Solicitation Package Should Include the Committee Solicitation Letter

                 66.        Given all of the issues with the Plan addressed above, in the event that the

Court is inclined to approve the Disclosure Statement and permit solicitation to proceed, it is

entirely appropriate for the Debtors to be required to include a letter from the Committee (the

“Committee Letter”) as part of the solicitation packages. See In re Boomerang Tube, LLC, Case

No. 15-11247 (Bankr. D. Del. 2015), Tr. of Proceedings held August 11, 2015 at 5:17-20

(allowing inclusion of Committee letter by agreement among parties); In re Motor Coach Indus.,

Inc., Case No. 08-12136 (Bankr. D. Del. 2008), Tr. of Proceedings held Dec. 17, 2008 at 44:7-

46:21 (allowing creditors’ committee to include in solicitation package a letter outlining the

committee’s issues with the proposed plan); In re Tucker Freight Lines, Inc., 62 B.R. 213, 215

n.1 (Bankr. W.D. Mich. 1986) (permitting a creditors’ committee objecting to a disclosure

statement to include in the ballot package a letter recommending that creditors vote against

acceptance of the plan); In re Federated Dep’t Stores, Inc., 1992 Bankr. LEXIS 392, at *21

(Bankr. S.D. Ohio Jan. 10, 1992) (solicitation packages included a letter from the appropriate

creditors’ committee recommending a vote in favor of the plan); In re JHT Holdings, Inc., et al.,

Case No. 08-11267 (BLS) [Docket No. 302] (disclosure statement included bold, all capital

letters recommendation by creditors’ committee summarizing concerns and urging creditors to

reject the plan). Attached as Exhibit A is the proposed Committee Letter.




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                                     V. RESERVATION OF RIGHTS

                 67.        The Committee reserves its right to (i) supplement this Objection at or

prior to the hearing on the DS Motion and approval of the Disclosure Statement and (ii) object to

the Disclosure Statement Supplement.

                                            VI. CONCLUSION

                 Based on the foregoing, the Committee respectfully requests that this Court deny

approval of the DS Motion and Disclosure Statement absent the significant changes thereto as set

forth in this Objection and grant such other and further relief as this Court deems appropriate.

Dated: February 21, 2018


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                                CERTIFICATE OF SERVICE

        I certify that on January 21, 2018, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                    /s/ Kenneth Green
                                                    Kenneth Green




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